                                            Instagram Business Record   Page 1

       Service   Instagram
        Target   2051659744
    Generated    2016-05-11 19:46:55 UTC
   Date Range    2016-01-01 00:00:00 UTC to 2016-05-02 23:59:59 UTC
       NCMEC
     CyberTip
     Numbers


         Name               First
                            Last



    Registered wolfmobb@icloud.com
         Email
    Addresses


  Vanity Name 5almighty_gang2


Vanity Changes       Old Vanity 2_gmg
                    New Vanity 5almighty_gang2
                           Time 2016-04-20 12:30:29 UTC
                  User Initiated false



  Registration 2015-05-04 15:39:11 UTC
         Date


Registration Ip 2601:a:780:38f8:14c1:154f:a7c0:a5b5


      Account       Account Still true
  Closure Date           Active



       Phone
     Numbers


  Ip Addresses        IP Address 66.87.81.53
                           Time 2016-05-02 22:52:31 UTC
                          Action v1_login

                      IP Address 66.87.80.189
                           Time 2016-05-02 19:22:18 UTC
                          Action v1_login

                      IP Address 66.87.80.161
                           Time 2016-05-02 15:00:08 UTC
                          Action v1_si_blocked

                      IP Address 66.87.83.62
                           Time 2016-05-02 00:08:36 UTC
                          Action v1_login
                                             Instagram Business Record                                 Page 261

                                   Date Created
                                                   2016-01-01 15:00:03 UTC
                                            Status Active
                                              Text Roses are red power is black long stroke the fed's, fuck em we still
                                                   going to count racks. One of us get shoot , a lot of niggas get
                                                   whacked. One of us turn rotten.... SSHHH.... We D money that
                    Comments



Profile Picture




                     Photo Id: 628128607215218


   Comments                 Id   17856336625016997
                  Date Created   2016-04-15 00:04:08 UTC
                        Status   Active
                          Text   @chucky2739 thanks for hatin����these EMM$ r 4ever nigga

                            Id   17846571685123090
                  Date Created   2016-04-14 06:15:30 UTC
                        Status   Active
                          Text   @_lilchop

                            Id   17846571676123090
                  Date Created   2016-04-14 06:14:54 UTC
                        Status   Active
                          Text   Say no more��

                            Id   17855157736017197
                  Date Created   2016-04-13 17:56:47 UTC
                        Status   Active
                          Text   Let's rock n roll

                            Id   17859193627037669
                  Date Created   2016-04-12 11:58:24 UTC
                        Status   Active
                          Text   I don't c no flicks of me or spittle

                            Id   18005716186061952
                  Date Created   2016-04-11 19:50:23 UTC
                        Status   Active
                          Text   Hills at me. @uncle_dot_

                            Id 18005716132061952
                  Date Created 2016-04-11 19:46:30 UTC
                         Instagram Business Record   Page 262

      Status
             Active
        Text @uncle_dot_

          Id   18005716129061952
Date Created   2016-04-11 19:46:19 UTC
      Status   Active
        Text   Wya lor buzzin

          Id   17855124064063101
Date Created   2016-04-10 15:57:29 UTC
      Status   Active
        Text   Shotout to BADGUY

          Id   17846528053083221
Date Created   2016-04-10 15:34:47 UTC
      Status   Active
        Text   Wuts ur #

          Id   17858668897006544
Date Created   2016-04-10 12:54:38 UTC
      Status   Active
        Text   Already. @a1_rockyy

          Id   17855480341062152
Date Created   2016-04-10 05:44:10 UTC
      Status   Active
        Text   U already. @_boooney

          Id   17846514751083221
Date Created   2016-04-10 02:12:13 UTC
      Status   Active
        Text   Where u at dummy

          Id   17855574754005523
Date Created   2016-04-09 20:59:29 UTC
      Status   Active
        Text   Wutsup nigga

          Id   17856272848016392
Date Created   2016-04-09 14:37:31 UTC
      Status   Active
        Text   EMM$ overpower everything

          Id   17846784037093687
Date Created   2016-04-09 11:38:47 UTC
      Status   Active
        Text   I got u. ��������

          Id   17855926798014043
Date Created   2016-04-08 20:50:30 UTC
      Status   Active
        Text   GMB 1000. @_d_o_t__

          Id   17849827792066653
Date Created   2016-04-08 20:46:41 UTC
      Status   Active
        Text   Hell yeah
                           Instagram Business Record                                     Page 263

          Id
             17849503219069432
Date Created 2016-04-08 16:03:04 UTC
      Status Active
        Text Call me. 4438198801

          Id   17846484271110671
Date Created   2016-04-08 15:09:23 UTC
      Status   Active
        Text   Is u ready?

          Id   17847388327079288
Date Created   2016-04-06 15:15:31 UTC
      Status   Active
        Text   These 〽️〽️s r 4ever bby @keepingupwith_keaaa

          Id   17856225787054754
Date Created   2016-04-06 07:27:08 UTC
      Status   Active
        Text   Already lor nigga. Hope I c u soon. @_lilchop

          Id   17849425357067303
Date Created   2016-04-06 07:17:43 UTC
      Status   Active
        Text   Girl girl. Hey beautiful.

          Id   17856225613054754
Date Created   2016-04-06 07:11:42 UTC
      Status   Active
        Text   Already

          Id   17846475367100050
Date Created   2016-04-06 04:14:39 UTC
      Status   Active
        Text   Already. Bro. The definition of those 2 〽️〽️s r 4ever. The time has come to c if it's
               understood

          Id   17844113752094357
Date Created   2016-01-26 20:26:43 UTC
      Status   Active
        Text   RP

          Id   17844083365118740
Date Created   2016-01-26 20:25:51 UTC
      Status   Self-Deleted
        Text   Who be doing your hair sis

          Id   17854897042025665
Date Created   2016-01-07 14:41:02 UTC
      Status   Media Author Deleted
        Text   U already know

          Id   17854896958025665
Date Created   2016-01-07 14:30:30 UTC
      Status   Media Author Deleted
        Text   Ya slow

          Id 17854896952025665
Date Created 2016-01-07 14:29:42 UTC
                         Instagram Business Record                                Page 264

      Status
             Media Author Deleted
        Text ��������������

          Id   17843907868091863
Date Created   2016-01-07 13:16:38 UTC
      Status   Active
        Text   @5200chi he always telling me this

          Id   17852377792008238
Date Created   2016-01-07 04:29:39 UTC
      Status   Active
        Text   Damn man

          Id   17843890345113933
Date Created   2016-01-07 04:24:54 UTC
      Status   Active
        Text   @yfg_chop k I got u

          Id   17852049448045422
Date Created   2015-12-30 04:48:00 UTC
      Status   Self-Deleted
        Text   @f_ash_ion_m have u talk to him yet

          Id   17852023711045422
Date Created   2015-12-28 01:11:52 UTC
      Status   Active
        Text   @miss_mclovin88 soon real soon

          Id   17846868313071208
Date Created   2015-12-26 19:39:55 UTC
      Status   Active
        Text   What is your number

          Id   17849586214032178
Date Created   2015-12-03 21:19:58 UTC
      Status   Active
        Text   Oh ok I know u happy

          Id   17849586142032178
Date Created   2015-12-03 21:12:05 UTC
      Status   Active
        Text   She had the baby yet

          Id   17843459545111070
Date Created   2015-12-03 20:53:29 UTC
      Status   Active
        Text   @5200chi hell yea

          Id   17843113975067745
Date Created   2015-10-20 12:56:52 UTC
      Status   Active
        Text   @miss_mclovin88 k I got u

          Id   17843113765067745
Date Created   2015-10-20 12:54:15 UTC
      Status   Active
        Text   @miss_mclovin88 this his wife he should be calling in a minute dm your number and I
               will 3 way u babe
